          Case 3:21-cv-01128-IM         Document 1   Filed 08/02/21    Page 1 of 15




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Attorneys for Plaintiff and the Proposed Class



                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
                                    PORTLAND DIVISION


  BRITTAINY SHAW, individually and on behalf CLASS ACTION
  of all others similarly situated,
                                             DEMAND FOR JURY TRIAL
                   Plaintiff,
                                             CASE NO: 3:21-cv-1128
  v.
                                             JUDGE:
  NEWEGG, INC.,

                  Defendant.



                                CLASS ACTION COMPLAINT

       Plaintiff Brittainy Shaw brings this class action against Defendant Newegg, Inc., and

alleges as follows upon personal knowledge as to Plaintiff and Plaintiff’s own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by Plaintiff’s attorneys.


Page 1 - Complaint
             Case 3:21-cv-01128-IM        Document 1        Filed 08/02/21      Page 2 of 15




                                    NATURE OF THE ACTION

        1.       This is a putative class action pursuant to the Telephone Consumer Protection Act,

47 U.S.C. §§ 227, et seq. (the “TCPA”).

        2.       Defendant is a publicly traded on-line retailer of consumer computer and

electronics equipment.

        3.       To market its products, Defendant engages in unsolicited text messaging and

violates TCPA by continuing to place text message calls to consumers even after they request to

opt out of Defendant’s telemarketing.

        4.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s unlawful

conduct, which has resulted in the invasion of privacy, harassment, aggravation, and disruption of

the daily life of thousands of individuals. Plaintiff also seeks statutory damages on behalf of herself

and members of the Class, and any other available legal or equitable remedies.

                                   JURISDICTION AND VENUE

        5.       Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff is a citizen of Oregon

while Defendant is a citizen of California, and the Complaint alleges a national class, which will result

in at least one class member belonging to a different state than that of Defendant. Plaintiff seeks up to

$1,500.00 (one-thousand-five-hundred dollars) in damages for each text message call in violation of the

TCPA, which, when aggregated among a proposed class numbering in the tens of thousands, or more,

exceeds the $5,000,000.00 (five-million dollars) threshold for federal court jurisdiction under the Class

Action Fairness Act (“CAFA”). Therefore, both the elements of diversity jurisdiction and CAFA

jurisdiction are present.




Page 2 - Complaint
             Case 3:21-cv-01128-IM        Document 1        Filed 08/02/21      Page 3 of 15




        6.       This Court has personal jurisdiction over Defendant because it has purposefully

directed its activities to this state, and/or has availed itself of the jurisdiction of this state, thereby

establishing sufficient contacts for personal jurisdiction in this Court. Defendant’s tortious conduct

against Plaintiff occurred within the State of Oregon and, on information and belief, Defendant has sent

the same, or substantially similar, and text messages complained of by Plaintiff to other individuals

within this judicial district, such that some of Defendant’s acts in making such calls have occurred within

this district, thereby subjecting Defendant to the jurisdiction of this Court

        7.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) because

Defendant is deemed to reside in any judicial district in which it is subject to personal jurisdiction,

and because a substantial part of the events or omissions giving rise to the claim occurred in this

District.

                                                PARTIES

        8.       Plaintiff is a natural person who, at all times relevant to this action, was a citizen of

and domiciled in Columbia County, Oregon.

        9.       Defendant is a California corporation with its principal place of business located at

17560 Rowland Street, City of Industry, CA 91748.

        10.      Unless otherwise indicated, the use of Defendant’s name in this Complaint includes

all agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

sureties, subrogees, representatives, vendors, and insurers of Defendant.

                                                 FACTS

        11.      Since at least April 2021, Defendant has and continues to bombard Plaintiff’s

cellular telephone ending in 9596 (the “9596 Number”) with marketing text messages even after




Page 3 - Complaint
         Case 3:21-cv-01128-IM         Document 1      Filed 08/02/21     Page 4 of 15




repeated requests by Plaintiff for the messages to stop. The following screenshots depict some of

the more recent instances of Defendant ignoring Plaintiff’s opt-out requests:




Page 4 - Complaint
         Case 3:21-cv-01128-IM   Document 1   Filed 08/02/21   Page 5 of 15




Page 5 - Complaint
         Case 3:21-cv-01128-IM   Document 1   Filed 08/02/21   Page 6 of 15




Page 6 - Complaint
         Case 3:21-cv-01128-IM   Document 1   Filed 08/02/21   Page 7 of 15




Page 7 - Complaint
         Case 3:21-cv-01128-IM   Document 1   Filed 08/02/21   Page 8 of 15




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Page 8 - Complaint
          Case 3:21-cv-01128-IM          Document 1      Filed 08/02/21      Page 9 of 15




        12.     At the time Plaintiff received these messages, Plaintiff was the subscriber and sole

user of the 9596 Number.

        13.     Plaintiff primarily uses the 9596 Number as a personal and residential phone.

        14.     Defendant’s text messages constitute telemarketing, advertising, or solicitations

because they promote Defendant’s business, goods, and services.

        15.     As demonstrated above, Plaintiff requested multiple times that Defendant stop

contacting the 9596 Number.

        16.     Notwithstanding, Plaintiff continued to receive unsolicited text messages from

Defendant.

        17.     The failure to stop calling is indicative of Defendant’s failure to implement a

written policy for maintaining a do-not-call list, abide by consumer opt-out requests, and to train

its personnel engaged in telemarketing on the existence and use of the do-not-call-list.

        18.     Defendant’s unsolicited text message caused Plaintiff harm, including invasion of

privacy, aggravation, annoyance, and wasted time.          Further, Defendant violated Plaintiff’s

substantive rights under the TCPA to remain free of unsolicited calls.

        CLASS ALLEGATIONS

        PROPOSED CLASS

        19.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf

of herself and all others similarly situated.

        20.     Plaintiff brings this case on behalf of the Class defined below:

        INTERNAL DO NOT CALL CLASS: All persons within the United States who,
        within the four years prior to the filing of this Complaint, (1) Defendant, or anyone
        on Defendant’s behalf, (2) placed a text message call, (3) for the purpose of
        encouraging the purchase or rental of, or investment in, Defendant’s property,
        goods, or services, (4) to said person’s telephone number, (5) after the person had
        requested to Defendant to not receive any more telephonic communications from


Page 9 - Complaint
         Case 3:21-cv-01128-IM         Document 1         Filed 08/02/21   Page 10 of 15




       Defendant by replying “stop” or any other similar request.

       21.     Plaintiff reserves the right to modify the Class definitions as warranted as facts are

learned in further investigation and discovery.

       22.     Defendant and its employees or agents are excluded from the Class. Plaintiff does

not know the number of members in the Class but believes the Class members number in the

several thousands, if not more.

       NUMEROSITY

       23.     Upon information and belief, Defendant has placed text message calls to telephone

numbers belonging to thousands of consumers throughout the United States. The members of the

Class, therefore, are believed to be so numerous that joinder of all members is impracticable.

       24.     The exact number and identities of the members of the Class are unknown at this

time and can only be ascertained through discovery. Identification of the Class members is a

matter capable of ministerial determination from Defendant’s call records.

       COMMON QUESTIONS OF LAW AND FACT

       25.     There are numerous questions of law and fact common to members of the Class

which predominate over any questions affecting only individual members of the Class. Among

the questions of law and fact common to the members of the Class are:

               a) Whether Defendant can meet its burden of showing that it obtained prior
                   consent to make such calls;

               b) Whether Defendant’s conduct was knowing and willful;

               c) Whether Defendant initiated telemarketing calls to telephone numbers who
                   requested to not receive such calls;

               d) Whether Defendant is liable for damages, and the amount of such damages; and


Page 10 - Complaint
         Case 3:21-cv-01128-IM         Document 1       Filed 08/02/21     Page 11 of 15




               e) Whether Defendant should be enjoined from such conduct in the future.
       26.     The common questions in this case are capable of having common answers. If

Plaintiff’s claim that Defendant routinely transmits calls to telephone numbers assigned to cellular

telephone services is accurate, Plaintiff and the Class members will have identical claims capable

of being efficiently adjudicated and administered in this case.

       TYPICALITY

       27.     Plaintiff’s claims are typical of the claims of the Class members, as they are all

based on the same factual and legal theories.

       PROTECTING THE INTERESTS OF THE CLASS MEMBERS

       28.     Plaintiff is a representative who will fully and adequately assert and protect the

interests of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate

representative and will fairly and adequately protect the interests of the Class.

       PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

       29.     A class action is superior to all other available methods for the fair and efficient

adjudication of this lawsuit because individual litigation of the claims of all members of the Class

is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

by the Class are in the millions of dollars, the individual damages incurred by each member of the

Class resulting from Defendant’s wrongful conduct are too small to warrant the expense of

individual lawsuits. The likelihood of individual Class members prosecuting their own separate

claims is remote, and, even if every member of the Class could afford individual litigation, the

court system would be unduly burdened by individual litigation of such cases.

       30.     The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For



Page 11 - Complaint
         Case 3:21-cv-01128-IM          Document 1        Filed 08/02/21       Page 12 of 15




example, one court might enjoin Defendant from performing the challenged acts, whereas another

may not. Additionally, individual actions may be dispositive of the interests of the Class, although

certain class members are not parties to such actions.

                                            COUNT I
                      Violations of 47 U.S.C. § 227 and 47 C.F.R. § 64.1200
                      (On Behalf of Plaintiff and the Internal Do Not Call Class)

       31.     Plaintiff re-alleges and incorporates paragraphs 1-30 as if fully set forth herein.

       32.     In pertinent part, 47 C.F.R. § 64.1200(d) provides:

       No person or entity shall initiate any call for telemarketing purposes to a residential
       telephone subscriber unless such person or entity has instituted procedures for
       maintaining a list of persons who request not to receive telemarketing calls made
       by or on behalf of that person or entity. The procedures instituted must meet the
       following minimum standards:

       (1) Written policy. Persons or entities making calls for telemarketing purposes must
       have a written policy, available upon demand, for maintaining a do-not-call list.

       (2) Training of personnel engaged in telemarketing. Personnel engaged in any
       aspect of telemarketing must be informed and trained in the existence and use of
       the do-not-call list.

       (3) Recording, disclosure of do-not-call requests. If a person or entity making a call
       for telemarketing purposes (or on whose behalf such a call is made) receives a request
       from a residential telephone subscriber not to receive calls from that person or entity,
       the person or entity must record the request and place the subscriber's name, if provided,
       and telephone number on the do-not-call list at the time the request is made. Persons or
       entities making calls for telemarketing purposes (or on whose behalf such calls are
       made) must honor a residential subscriber's do-not-call request within a reasonable time
       from the date such request is made. This period may not exceed thirty days from the
       date of such request. If such requests are recorded or maintained by a party other than
       the person or entity on whose behalf the telemarketing call is made, the person or entity
       on whose behalf the telemarketing call is made will be liable for any failures to honor
       the do-not-call request. A person or entity making a call for telemarketing purposes must
       obtain a consumer's prior express permission to share or forward the consumer's request
       not to be called to a party other than the person or entity on whose behalf a telemarketing
       call is made or an affiliated entity.

       (6) Maintenance of do-not-call lists. A person or entity making calls for telemarketing
       purposes must maintain a record of a consumer's request not to receive further
       telemarketing calls. A do-not-call request must be honored for 5 years from the time the


Page 12 - Complaint
          Case 3:21-cv-01128-IM           Document 1    Filed 08/02/21     Page 13 of 15




        request is made.

        33.     Under 47 C.F.R § 64.1200(e), the rules set forth in 47 C.F.R. § 64.1200(d) are

applicable to any person or entity making telephone solicitations or telemarketing calls to wireless

telephone numbers.

        34.     Plaintiff and the Internal Do Not Call Class members made requests to Defendant

not to receive future calls on their cellular telephone numbers from Defendant.

        35.     Defendant failed to honor Plaintiff and the Internal Do Not Call Class members’

opt-out requests.

        36.     Defendant’s refusal to honor opt-out requests is indicative of Defendant’s failure to

implement a written policy for maintaining a do-not-call list and to train its personnel engaged in

telemarketing on the existence and use of the do-not-call-list.

        37.     Defendant has violated 47 C.F.R. § 64.1200(d) by failing to (1) maintain a written

policy for the maintenance of a do-not-call list; (2) train its personnel engaged in any aspect of

telemarketing in the existence and use of the do-not-call list; (3) record and honor consumer opt-out

requests; and (4) maintain a do-not-call list.

        38.     Pursuant to section 227(c)(5) of the TCPA, Plaintiff and the Internal Do Not Call

Class members are entitled to an award of $500.00 in statutory damages, for each and every

negligent violation.

        39.     As a result of Defendant’s knowing or willful conduct, Plaintiff and the Internal Do

Not Call Class members are entitled to an award of $1,500.00 in statutory damages per violation.

        40.     Plaintiff and the Internal Do Not Call Class members are also entitled to and seek

injunctive relief prohibiting Defendant’s illegal conduct in the future, pursuant to section

227(c)(5).



Page 13 - Complaint
           Case 3:21-cv-01128-IM         Document 1     Filed 08/02/21     Page 14 of 15




                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

relief:

             a) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

             b) An order certifying this case as a class action on behalf of the Class as defined
                 above, and appointing Plaintiff as the representative of the Class and Plaintiff’s

                 counsel as Class Counsel;

             c) An injunction prohibiting Defendant from initiating calls to telephone numbers
                 listed on the National Do Not Call Registry, requiring Defendant to obtain prior

                 express written consent prior to placing telemarketing calls using an ATDS,

                 mandating Defendant to honor opt our requests and maintain an internal Do Not

                 Call list.

             d) As a result of Defendant’s negligent violations of 47 U.S.C. §§ 227, et seq., and 47
                 C.F.R. § 64.1200, Plaintiff seeks for himself and each member of the Class $500.00

                 in statutory damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3).

             e) As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §§ 227,
                 et seq., and 47 C.F.R. § 64.1200, Plaintiff seeks for himself and each member of

                 the Class treble damages, as provided by statute, up to $1,500.00 for each and every

                 violation pursuant to 47 U.S.C. § 227(b)(3).

             f) Such further and other relief as the Court deems necessary.
                                          JURY DEMAND

          Plaintiff hereby demand a trial by jury.




Page 14 - Complaint
         Case 3:21-cv-01128-IM       Document 1      Filed 08/02/21     Page 15 of 15




                           DOCUMENT PRESERVATION DEMAND

       Plaintiff demands that Defendant take affirmative steps to preserve all records, lists,

electronic databases, or other itemization of telephone numbers associated with Defendant and the

calls as alleged herein.

Dated: August 2, 2021

                                            Respectfully submitted,


                                     By:       s/ Susan G. Steinman
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Page 15 - Complaint
